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1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    UNITED STATES OF AMERICA,

4                v.                                16 CR 656(GHW)

5    DAVID WILLIAMS,

6                     Defendant.

7    ------------------------------x

8                                                  New York, N.Y.
                                                   September 21, 2017
9                                                  11:30 p.m.

10
     Before:
11
                            HON. JAMES C. FRANCIS,
12
                                                   Magistrate Judge
13

14                                 APPEARANCES

15   JOON H. KIM
          Acting United States Attorney for the
16        Southern District of New York
     KATHERINE C. REILLY
17        Assistant United States Attorney

18   ANTHONY CECUTTI
          Attorney for Defendant
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1               (In open court; case called)

2               THE DEPUTY CLERK:    Counsel, please state your name for

3    the record.

4               MS. REILLY:    Katherine Reilly for the government.

5               MR. CECUTTI:    Anthony Cecutti for Mr. Williams.

6               THE COURT:    Good morning, Mr. Williams.     I am Judge

7    Francis.    I believe the first order of business is waiver of

8    the indictment.

9               Proceed with that, please.

10              THE DEPUTY CLERK:    You are James David Williams.

11              THE DEFENDANT:    Yes.

12              THE DEPUTY CLERK:    Have you signed the waiver of

13   indictment?

14              THE DEFENDANT:    Yes.

15              THE DEPUTY CLERK:    Before you signed it, did you

16   discuss it with your attorney?

17              THE DEFENDANT:    Yes.

18              THE DEPUTY CLERK:    Did your attorney explain it to

19   you?

20              THE DEFENDANT:    Yes.

21              THE DEPUTY CLERK:    Do you understand what you are

22   doing?

23              THE DEFENDANT:    Yes.

24              THE DEPUTY CLERK:    Do you understand that you are

25   under no obligation to waive indictment?


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1              THE DEFENDANT:    I do.

2              THE DEPUTY CLERK:     Do you understand that if you do

3    not waive indictment if the government wants to prosecute you,

4    they will have to present this case to a grand jury which may

5    or may not indict you?

6              THE DEFENDANT:    Yes.

7              THE COURT:    Do you understand that by signing this

8    waiver of indictment, you have given up your right to have this

9    case presented to a grand jury?

10             THE DEFENDANT:    Yes.

11             THE DEPUTY CLERK:     Do you understand what a grand jury

12   is?

13             THE DEFENDANT:    Yes.

14             THE DEPUTY CLERK:     Have you seen a copy of the

15   information?

16             THE DEFENDANT:    Yes.

17             THE DEPUTY CLERK:     Do you waive its public reading?

18             THE DEFENDANT:    Yes.

19             THE COURT:    Thank you.

20             Mr. Williams, you are charged in the superseding

21   information in six counts.      Count One charges conspiracy to

22   commit wire fraud in violation of Title 18, United States Code,

23   Section 1349.    Counts Two, Three and Four charge wire fraud in

24   violation of Title 18, United States Code, Section 1343.           Count

25   Five charges aggravated identity theft in violation of Title 18


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1    of the United States Code, Section 1028(a), and Count Six

2    charges conspiracy to commit money laundering in violation of

3    Title 18 of the United States Code, Section 1956(h).

4              You have the right to enter your plea before a United

5    States court district judge.      However, a United States

6    magistrate judge may also take your plea provided that you

7    consent to that procedure.      I have before me a consent form.

8              Have you read and do you understand that form and did

9    you sign it?

10             THE DEFENDANT:    Yes, I did.

11             THE COURT:    Now I am going to ask you some questions

12   in connection with your plea.

13             Please raise your right hand.

14             (Defendant sworn)

15             THE COURT:    Please state your full name for the

16   record.

17             THE DEFENDANT:    James David Williams.

18             THE COURT:    What is your education?

19             THE DEFENDANT:    I have two years of college.

20             THE COURT:    Are you now or have you recently been

21   under the care of a doctor or psychiatrist for any reason?

22             THE DEFENDANT:    No, I have not.

23             THE COURT:    Are you currently taking any medications?

24             THE DEFENDANT:    One, Crestor.

25             THE COURT:    Does that affect your ability to


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1    understand these proceedings in any way?

2              THE DEFENDANT:    No, it does not.

3              THE COURT:    Have you ever been treated for alcoholism

4    or drug addiction?

5              THE DEFENDANT:    No, I have not.

6              THE COURT:    Have you had any alcoholic beverage or

7    narcotic substance in the last 48 hours?

8              THE DEFENDANT:    No.

9              THE COURT:    Are you feeling all right today?

10             THE DEFENDANT:    Yes.

11             THE COURT:    You have received a copy of the

12   information.

13             Do you understand what it says you did?

14             THE DEFENDANT:    Yes, I do.

15             THE COURT:    Have you had time to talk to your attorney

16   about the charges and about how you wish to plead?

17             THE DEFENDANT:    Yes.

18             THE COURT:    Are you satisfied with your attorney?

19             THE DEFENDANT:    Yes, I am.

20             THE COURT:    Are you ready to plead at this time?

21             THE DEFENDANT:    Yes, I am.

22             THE COURT:    What is your plea to Counts One, Two,

23   Three, Four, Five, and Six of the superseding indictment?

24             THE DEFENDANT:    Guilty.

25             THE COURT:    I need to determine whether your plea of


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1    guilt is a voluntary and whether you fully understand the

2    charges against you and the possible consequences of your plea

3    so I am going ask you some additional questions.

4              I remind you that the charge against you on Count One

5    is conspiracy to commit wire fraud.       The law provides as a

6    penalty a term of imprisonment of up to 20 years, a term of

7    supervised release of up to three years, a maximum fine which

8    is the greatest of $250,000 or twice any gain derived from the

9    offense or twice any loss to persons other than yourself as a

10   result of the offense, and a mandatory $100 special assessment.

11             Do you understand those penalties?

12             THE DEFENDANT:    Yes.

13             THE COURT:    Counts two, Three, and Four each charge

14   the substantive crime of wire fraud.       If convicted on any of

15   those counts, you would be subject to a term of imprisonment

16   with a maximum of 20 years, a term of supervised release of up

17   to three years, a maximum fine which is the greatest of

18   $250,000 or twice any gain derived from the offense or twice

19   any loss to persons other than yourself as a result of the

20   offense, and a mandatory $100 special assessment.

21             Do you understand those penalties?

22             THE DEFENDANT:    Yes.

23             THE COURT:    Count Five charges aggravated identity

24   theft and the law provides as a penalty a term of imprisonment

25   mandatory two years consecutive to any sentence imposed on any


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1    of the other counts along with a fine of up to $250,000 or

2    twice the gross pecuniary gain from the offense or twice the

3    loss to persons other than yourself as a result of the offense

4    and a mandatory $100 special assessment.

5              Do you understand those penalties?

6              THE DEFENDANT:    Yes.

7              THE COURT:    Count Six charges conspiracy to commit

8    money laundering.    The law provides as a penalty a term of

9    imprisonment of up to 10 years, a term of supervised release of

10   up to three years, a maximum fine which is the greatest of

11   $500,000, or twice the value of the property involved in the

12   transaction or twice the gain derived from the offense or twice

13   the loss to persons other than yourself as a result of the

14   offense, and a mandatory $100 special assessment.

15             Do you understand those penalties?

16             THE DEFENDANT:    Yes.

17             THE COURT:    Do you understand that the total maximum

18   sentence of incarceration for Counts One through Six is 92

19   years' imprisonment with a mandatory term of two years for

20   Count Five, which must be consecutive to any other term of

21   imprisonment.

22             Do you also understand that as part of any other

23   sentence you would be required to make restitution to any

24   victims of the crime?

25             THE DEFENDANT:    Yes.


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1               THE COURT:   Do you also understand that you are

2    admitting the forfeiture allegations in information, which

3    means that you would be required to surrender any moneys

4    obtained as a result of the offenses or any money or property

5    used to facilitate the offenses?

6               THE DEFENDANT:   Yes.

7               THE COURT:   Do you understand that if you are not a

8    United States citizen, you would be subject to deportation on

9    the basis of your conviction?

10              THE DEFENDANT:   Yes.

11              THE COURT:   Do you understand that if you are

12   sentenced to prison and released on supervised release and you

13   violate the terms of supervised release, you would be returned

14   to prison without credit for the time spent on supervised

15   release?

16              THE DEFENDANT:   Yes.

17              THE COURT:   Do you understand that you have the right

18   to plead not guilty and the right to a jury trial on these

19   charges?

20              THE DEFENDANT:   Yes.

21              THE COURT:   Do you understand that if you plead not

22   guilty and go to trial, the burden would be on the government

23   to prove your guilt beyond a reasonable doubt?

24              THE DEFENDANT:   Yes.

25              THE COURT:   Do you understand that at a trial, you


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1    would be presumed innocent until the government proved your

2    guilt?

3              THE DEFENDANT:    Yes.

4              THE COURT:    Do you understand that you have the right

5    to be represented by an attorney at trial and at all other

6    stages of the proceedings and if necessary an attorney would be

7    appointed for you?

8              THE DEFENDANT:    Yes.

9              THE COURT:    Do you understand that at a trial, you

10   would the have the right to confront and question any witnesses

11   who testify against you and the right not to be forced to

12   testify against yourself?

13             THE DEFENDANT:    Yes.

14             THE COURT:    Do you understand that at a trial, you

15   would be entitled to testify on your own behalf, to present

16   evidence, to call witnesses to testify, and to subpoena those

17   witnesses if necessary?

18             THE DEFENDANT:    Yes.

19             THE COURT:    Do you understand that if you plead

20   guilty, there will be no trial of any kind and the

21   trial-related rights that I have just described would no longer

22   apply and the only remaining step would be for the Court to

23   sentence you?

24             THE DEFENDANT:    Yes.

25             THE COURT:    Do you understand the nature of the


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1    charges to which you are pleading?

2              THE DEFENDANT:    Yes.

3              THE COURT:    Do you understand had the range of

4    penalties including the maximum sentence that you could receive

5    on the basis of your plea?

6              THE DEFENDANT:    Yes.

7              THE COURT:    Have you and your attorney talked about

8    how the Sentencing Commission guidelines might apply your case?

9              THE DEFENDANT:    Yes.

10             THE COURT:    Do you understand that the Court will not

11   be able to determine the guidelines for your case until a

12   presentence report has been prepared and you and the government

13   have had the opportunity to challenge any facts reported there?

14             THE DEFENDANT:    Yes.

15             THE COURT:    Do you understand that after it has been

16   determined what guidelines apply to a case, the Court has the

17   authority in some circumstances to impose a sentence that is

18   either more severe or less severe than that called for by the

19   guidelines?

20             THE DEFENDANT:    Yes.

21             THE COURT:    Do you understand that in determining the

22   sentence, the Court will consider in addition the guidelines

23   and possible departures from those guidelines all of the

24   factors set forth in the statute, that is, 18, United States

25   Code, Section 3553(a)?


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1              THE DEFENDANT:    Yes.

2              THE COURT:    Do you understand that under some

3    circumstances, you or the government may have the right to

4    appeal the sentence?

5              THE DEFENDANT:    Yes.

6              THE COURT:    Do you understand that there is no parole

7    and that if you are sentenced to prison, you will not be

8    released on parole?

9              THE DEFENDANT:    Yes.

10             THE COURT:    Do you understand that the answers you

11   give to me today under oath may in the future be used against

12   you in a prosecution for perjury or false statement if you do

13   not tell the truth?

14             THE DEFENDANT:    Yes.

15             THE COURT:    Do you still wish to plead guilty?

16             THE DEFENDANT:    Yes, I do.

17             THE COURT:    Have any threats been made to you by

18   anyone to influence you to plead guilty?

19             THE DEFENDANT:    No.

20             THE COURT:    Have any promises been made concerning the

21   sentence you would receive?

22             THE DEFENDANT:    No.

23             THE COURT:    I have before me a plea agreement dated

24   September the 7th, 2017.

25             Have you read and do you understand that plea


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1    agreement that you signed?

2              THE DEFENDANT:    Yes.

3              THE COURT:    That plea agreement contains a provision

4    that if you provide substantial assistance to the government,

5    the government will issue what is known as a 5K1.1 letter at

6    the time of sentencing.

7              Do you understand that it is entirely within the

8    government's discretion to determine whether in fact you have

9    provided substantial assistance?

10             THE DEFENDANT:    Yes.

11             THE COURT:    Do you also understand that even if the

12   government issues such a letter that letter does not bind

13   either the Probation Department in the sentence it will

14   recommend nor the sentencing judge in the sentence that she

15   will impose?

16             THE DEFENDANT:    Yes.

17             THE COURT:    Do you also understand that you are

18   agreeing not to challenge your conviction on the grounds that

19   the government has failed to produce discovery material or

20   information that might tend to prove your innocence?

21             THE DEFENDANT:    Yes.

22             THE COURT:    Do you also understand that you are bound

23   by your guilty plea regardless of the immigration consequences?

24             THE DEFENDANT:    Yes.

25             THE COURT:    Apart from what is contained in this plea


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1    agreement has anyone promised you anything whatsoever in

2    connection with your plea?

3              THE DEFENDANT:    No.

4              THE COURT:    Does the government wish to set forth on

5    record the elements it would prove at trial?

6              MS. REILLY:    Yes, your Honor.

7              Count One of the superseding information charges the

8    defendant with conspiring to commit wire fraud.         In order to

9    prove the defendant guilty in Count One, the government would

10   have to prove each of the following elements beyond a

11   reasonable doubt:     First, that two or more persons entered into

12   the unlawful agreement described in the superseding

13   information; second, that the defendant knowingly and willfully

14   became a member of the conspiracy; third, that one of the

15   members of the conspiracy knowingly committed at least one of

16   the overt acts charged; fourth, that the overt act or acts were

17   committed by a member of the conspiracy to further some

18   objective of that conspiracy.

19             The objective of the conspiracy alleged in Count One

20   is the commission of wire fraud in violation of Title 18, U.S.

21   Code, Section 1343.

22             Counts Two, Three and Four of the superseding

23   information charges the defendant with wire fraud.          That

24   offense has three elements.       First, that there was a scheme or

25   artifice to defraud or to obtain money or property by


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1    materially false and fraudulent pretenses, representations, or

2    promises; second, that the defendant knowingly and willfully

3    participated in that scheme or artifice to defraud with

4    knowledge of its fraudulent nature and with specific intent to

5    defraud; and third, that in the execution of the scheme, the

6    defendant used or caused the use of interstate or international

7    wires.

8              Count Five of the superseding information charges

9    aggravated identity theft.      That crime has three elements.

10   First, that the defendant knowingly used the means of

11   identification of another person; second, that the defendant

12   used the means of identification during and in relation to the

13   offense of, among other crimes, wire fraud; and third, that the

14   defendant acted without lawful authority.

15             Count six of the superseding information charges

16   conspiracy to commit money laundering.        That offense has two

17   elements.   First, that two or more persons entered into the

18   unlawful agreement charged in the superseding information; and

19   second, that the defendant knowingly and willfully became a

20   member of the conspiracy.

21             The object of the conspiracy alleged in Count Six is

22   the commission of money laundering in order to conceal and

23   disguise the nature, location, source, ownership and control of

24   proceeds of specified unlawful activity in violation of Title

25   18, United States Code, Section 1956.


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1              THE COURT:    Thank you.

2              Mr. Williams, do you understand that if you were to go

3    to trial, the government would have the burden of demonstrating

4    or proving each of those elements beyond a reasonable doubt?

5              THE DEFENDANT:    Yes, I do.

6              THE COURT:    Is your plea voluntary and made of your

7    own free will?

8              THE DEFENDANT:    Yes.

9              THE COURT:    Did you commit the offenses charged?

10             THE DEFENDANT:    Yes.

11             THE COURT:    Tell me what you did.

12             THE DEFENDANT:    From about 2002 to 2016, I conspired

13   with others to fraudulently induce individuals to invest in the

14   production and marketing of feature length films.          I also did

15   personally fraudulently induce individuals to make such

16   investments.    While doing so, I sent or caused to be sent

17   e-mails, phone calls, and wire transfer of funds.          I promised

18   the individuals guaranteed returns on profits and

19   misrepresented the amount of funding that coconspirators,

20   myself, and other investors had contributed to the film

21   projects to induce their investments.

22             During this time period, I agreed with others to make

23   wire transfers in an effort to conceal fraudulently obtained

24   funds.   I also used the fraudulently obtained funds to, among

25   other things, pay for my own personal expenses.


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1              From about November 2015 to about June 2016 in the Los

2    Angeles area, I used the name and signature of another

3    individual without his permission or authority to fraudulently

4    induce individuals to make investments in the production and

5    marketing of films.

6              In 2015 in the Los Angeles area, I created false

7    documents that purported to demonstrate a fictitious entity

8    held its interest in a residential property that I owned to

9    conceal the value of my assets during litigation in a civil

10   case.   In connection and in furtherance of these actions, I

11   sent or caused to be sent e-mails, phone calls and wire

12   transfer of funds.

13             From about 2012 to 2014 in the Los Angeles area, I

14   created false documents purporting to demonstrate the assets of

15   an entity named Garuda Trust to secure financing in connection

16   with transactions relating to a boat and a residential

17   property.   In connection and in furtherance of these actions, I

18   sent or caused to be sent e-mails, phone calls and wire

19   transfer of funds.

20             All of the actions that I have described were wrong

21   and illegal.    Additionally, I knew that they were wrong and

22   illegal at the time that I committed them.         I take full

23   responsibility for what I have done and accept the consequences

24   of my actions, including my sentence, and the embarrassment and

25   shame that I feel in letting down my wife, children, family,


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1    and those that I worked with.

2              Thank you, your Honor.

3              THE COURT:    Thank you.

4              I believe that there is a waiver of venue with respect

5    to some of the counts?

6              MS. REILLY:    Yes, your Honor.     There is a waiver of

7    venue as to Counts Three, Four and Five.        The government would

8    proffer as to Counts One, Two, and Six that if we were to

9    proceed to trial, the government would introduce evidence that

10   certain acts in furtherance of the conspiracy and the wire

11   fraud -- excuse me, the conspiracy to wire fraud and the

12   conspiracy to commit money laundering including bank transfers,

13   meetings, and phone calls with victims took place in the

14   Southern District of New York.

15             THE COURT:    Thank you.

16             Are there any other questions that you wish be asked?

17             MS. REILLY:    No, your Honor.

18             THE COURT:    Any reason that you are aware of why the

19   defendant should not plead guilty?

20             MS. REILLY:    No.

21             THE COURT:    Mr. Cecutti, do you know of any such

22   reason?

23             MR. CECUTTI:    No, your Honor.

24             THE COURT:    I am satisfied that the defendant

25   understands the nature of the charges against him and the


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1    consequences of a plea of guilty.       I am also satisfied that the

2    plea is voluntary and knowing and that there is a factual basis

3    for it.   I will therefore recommend that Judge Wood accept the

4    defendant's plea of guilty in Counts One through Six of the

5    superseding information.

6              I believe under the circumstances we will not be

7    ordering a presentence report at this time?

8              MS. REILLY:    That's correct, your Honor.       Judge Wood

9    has set a sentencing control date of April 23rd at 11:00 a.m.

10             THE COURT:    Very well.

11             Are there any requests with respect to the conditions

12   of release?

13             MS. REILLY:    No, your Honor.     The government has no

14   request to modify the conditions at this time.

15             THE COURT:    The conditions will continue.

16             Thank you all.

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